                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,
       v.                                                     Case No. 04-CR-191

ERNESTO C. AMBRIZ, et al.,

                       Defendants.


        ORDER DENYING ALEJO URQUIZA’S MOTION FOR SEVERANCE
_________________________________________________________________________________

       On April 22, 2005 this court ordered the defendants to file any motions for severance no later

than May 5, 2005. On May 13, 2005, Alejo Urquiza (“Urquiza”) filed a motion for severance from

the other defendants, claiming that joinder will be substantially prejudicial based on Bruton v. United

States, 391 U.S. 123 (1968). In support of this claim, Urquiza states that “other defendants have

provided information and the investigations into their activities will create prejudice against []

Urquiza.” No further specifics are provided, and no memoranda supports Urquiza’s motion.

       Without particularization, this court has no way of knowing to which statements of co-

defendants Urquiza refers and in what manner they allegedly prejudice the defendant. Moreover,

Urquiza fails to state good cause to file his severance motion beyond the deadline. For these reasons,

the court denies the defendant’s motion without prejudice.

       Dated at Milwaukee, Wisconsin, this 13th day of May, 2005.


                                              s/AARON E. GOODSTEIN
                                              United States Magistrate Judge




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